Case: 1:07-cv-05276 Document #: 90 Filed: 07/09/08 Page 1 of 3 Page|D #:487

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

ANTHONY SAFFORD, Plaintiff,

VS~

ANDREW JANIK, Star No. 10860,
ANTHONY BRUNO, Star no. 12212,
JOHNNlE M. MINTER-EDWARDS, Star No.
21161, THOMAS R. SHEBISH, Star No.
20419, JLYNN PIERCE. Star No. 8266,
TERRY HILLARD, LORI LIGHTFOOT. TISA
MORRIS, PHILLlP CLINE. MAYOR
RlCHARD DALEY, and the ClTY OF
CHICAGO, Defendants.

Case No.: 07 CV 5276
Judge: Coar

Magistrate Judge Keys

 

 

STIPULATION TO DISMISS

IT lS HEREBY STlPULATED AND AGREED by and between the parties hereto, by their

respective attorneys of record, that this matter has been settled pursuant to the Release and

Settlement Agreement executed by the parties and, therefore, this cause should be dismissed with

prejudice and with each party bearing its own costs and attorney fees in accordance with the terms of

the Release and Settlement Agreement and the Agreed Order of Dismissal.

Respectfully submitted,
Dykema Gossett PLLC

By: s/Kimberly D. Fahrbach
One of the Attorneys for Defendant City

Horwitz. Richardson & Baker, LLC

By: s/Blal<e W. Horwitz

 

One ofthe Attorneys for Plaintiff

Terrence M. Burns. ARDC No. 3122331
Paul A. Michalik. ARDC No. 6198674
Daniel M. Noland` ARDC No. 6231175
Kimberly D. Fahrbach, ARDC No. 6237042
Dykema Gossett, PLLC

10 S. Wacker Dr., Suite 2300

Chicago, lL 60606

312-876-1700

Blake Horwitz

Abbas Merchant

Horwitz` Richardson & Baker LLC
20 S. Clark St.. Suite 500
Chicago, IL 60603

312-676-2100

Case: 1:07-cv-05276 Document #: 90 Filed: 07/09/08 Page 2 of 3 Page|D #:488

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLlNOIS
EASTERN DIVISION

ANTHONY SAFFORD, Case No.: 07 CV 5276
Plaintiff, Judge: Coar
vs. Magistrate Judge Keys

ANDREW JANIK, Star No. 10860,
ANTHONY BRUNO. Star no. 12212,
JOHNNIE l\/I. MlNTER-EDWARDS` Star No.
2l l()l. THOl\/IAS R. SHEBISH, Star No.
20419, JLYNN PIERCE, Star No. 8266,
TERRY HILLARD, LORl LlGHTFOOT, TISA
l\/IORRIS, PHILLlP CLINE, MAYOR
RICHARD DALEY, and the CITY OF
CHICAGO

Defendants.

 

 

AGREED ORDER OF DISMISSAL

This matter coming before the Court on the Stipulation of the partieS, the parties having
reached agreement to settle this matter, and the respective parties being represented by counsel,
plaintiff Anthony Safford, by one of his attorneys, Blake Horwitz,, and defendants ANDREW
JANIK, Star No. 10860, ANTHONY BRUNO, Star no. 12212, JOHNNIE M. l\/IlNTER-
EDWARDS, Star No.2116l,THOl\/1AS R. SHEBISH, Star No. 20419, JLYNN PIERCE, Star No.
826(), TERRY HILLARD, LORI LIGHTFOOT, TISA MORRIS, PHILLIP CLINE, MAYOR
RICHARD DALEY, and the CITY OF CHICAGO, by one oftheir attorneys, Terrance M. Burns,
and the parties having entered into a Release and Settlement Agreement and Stipulation to Dismiss,
the Court being otherwise fully advised in the premises, hereby incorporates the terms of the Release
and Settlement Agreement herein and further orders as follows:

All of thc claims of plaintiff Anthony Safford against defendants, ANDR'EW 'JAN'I'K` Star

No. 10860, ANTHONY BRUNO, Star no. 12212, JOHNNIE M. MlNTER-EDWARDS~ Star No.

Case: 1:07-cv-05276 Document #: 90 Filed: 07/09/08 Page 3 of 3 Page|D #:489

21161, THOl\/IAS R. SHEBISH, Star No. 20419, JLY \lN PlERCE, Star No. 8266, TERRY

HILLARD, LORl LlGHTFOOT, TISA MORRIS, PHILLIP CLlNE, MAYOR RlCHARD DALEY,

and the CITY OF CHICAGO are dismissed with prejudice and with each side bearing its own costs

and attorney fees in accordance with the terms of the Release and Settlement Agreement.

Terrence l\/I. Burns, ARDC No. 3122331
Paul A. Michalik, ARDC No. 6198674
Daniel l\/I. Noland, ARDC No. 6231175
Kimberly D. Fahrbach, ARDC No. 6237042
Dykema Gossett, PLLC

10 S. Wacker Dr., Suite 2300

Chicago, IL 60606

312-87()-1700

ENTER:
Judge Coar
United States District Judge

 

DATED:

Blake Horwitz

Abbas Merchant

Horwitz, Richardson & Baker LLC
20 S. Clark St., Suite 500

Chicago, lL 60603

312-676~2100

